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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                                          5/27/2025
                                                                       :
METROPOLITAN TRANSPORTATION                                            :
AUTHORITY, et al.,                                                     :
                                                                       :
                                    Plaintiffs,                        :         25-cv-1413 (LJL)
                                                                       :
                  -v-                                                  :         TEMPORARY
                                                                       :      RESTRAINING ORDER
SEAN DUFFY, et al.                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        For the reasons stated on the record at the hearing held on May 27, 2025, the Court issues

the following temporary restraining order:

        Defendants Sean Duffy, in his official capacity as Secretary of the United States Department

of Transportation, Gloria M. Shepherd, in her official capacity as Executive Director of the Federal

Highway Administration, the United States Department of Transportation, and the Federal

Highway Administration as well as all persons identified under Federal Rule of Civil Procedure

65(d)(2), including all of their respective officers , agents, servants, employees, and attorneys, are

temporarily restrained from taking any action founded on the February 19, 2025 letter from

Secretary Duffy to Governor Hochul purporting to terminate the VPPP agreement and rescind

federal approval for New York’s Central Business District tolling program including any action to

enforce compliance with or implement the February 19 letter, Defendants’ purported termination

of the VPPP agreement, or Defendants’ purported termination of the tolling program. Defendants

are also restrained from taking any of the “compliance measures” set forth in the April 21, 2025

letter from Secretary Duffy to Governor Hochul to enforce compliance with or implement the

February 19 letter, Defendants purported termination of the VPPP agreement, or Defendants’
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purported termination of the tolling program. For avoidance of doubt, Defendants are enjoined

from withholding federal funds, approvals, or authorizations from New York State or local agencies

to enforce compliance with or implement the February 19 letter, Defendants purported termination

of the VPPP agreement, or Defendants’ purported termination of the tolling program.

       This temporary restraining order shall expire at 5:00 p.m. on June 9, 2025.



       SO ORDERED.

Dated: May 27, 2025 at 11:45 a.m.                __________________________________
       New York, New York                                   LEWIS J. LIMAN
                                                        United States District Judge
